              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:00-cr-00009-MR-DLH-8


UNITED STATES OF AMERICA,       )
                                )
                                )
         vs.                    )                        ORDER
                                )
                                )
WILLIAM BRIAN McELRATH.         )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s pro se

motion for early termination of his term of supervised release [Doc. 836].

Both counsel for the Government and the Defendant’s supervising

probation officer have advised the Court’s chambers that they do not

oppose the Defendant’s request.

     Upon review of the Defendant’s motion, and in light of the lack of

opposition by the Government and the Defendant’s supervising probation

officer, the Court is satisfied that the early termination of the Defendant’s

supervised release is warranted by the Defendant’s conduct and is in the

interest of justice. See 18 U.S.C. § 3583(e)(1).




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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

motion [Doc. 836] is GRANTED, and the Defendant’s term of supervised

release is hereby terminated.

     The Clerk is directed to serve a copy of this Order on the Defendant,

counsel for the Government, and the United States Probation Office.

     IT IS SO ORDERED.              Signed: October 1, 2013




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